                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Roanoke Division

VINCENT WOODHOUSE,

              Plaintiff,

v.                                          CIVIL ACTION NO. 7:20cv655

MAJOR KING, et al.,

              Defendants.

                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Defendants King, Ely, and Stallard, by counsel, respectfully move this Honorable Court

for entry of summary judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure for

the reasons set forth in the Memorandum in Support accompanying this Motion.

                                            Respectfully submitted,

                                            MAJOR KING, JOSEPH ELY, and UNIT
                                            MANAGER STALLARD

                                    By:            s/ Laura H. Cahill
                                            Laura H. Cahill, AAG, VSB#86328
                                            Office of the Attorney General
                                            Criminal Justice & Public Safety Division
                                            202 North 9th Street
                                            Richmond, Virginia 23219
                                            (804) 786-5630
                                            (804) 786-4239 (Fax)
                                            Email: lcahill@oag.state.va.us
                                    CERTIFICATE OF SERVICE

       I hereby certify that on the 14th day of June 2021, I electronically filed the foregoing

Defendants’ Motion for Summary Judgment with the Clerk of the Court using the CM/ECF

system, which will send a notification of such filing (NEF) to the following CM/ECF

participants: N/A, and I hereby certify that I have mailed the document by UPS Ground Service

to the following non-filing user:

       Vincent Woodhouse, # 1031027
       Wallens Ridge State Prison
       272 Dogwood Drive
       Big Stone Gap, VA 24219



                                       By:           s/ Laura H. Cahill
                                              Laura H. Cahill, AAG, VSB#86328
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